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2
                                    UNITED STATES DISTRICT COURT
3
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
4

5    UNITED STATES OF AMERICA,                         1:13-cr-00362 AWI BAM
6                             Plaintiff,               ORDER ON DEFENDANT BOLANOS'
                                                       "NOTICE AND DEMAND IN
7                       v.                             INSTRUCTION FOR IMMEDIATE
                                                       EMERGENCY SPECIAL APPEARANCE
8    GAYLENE LYNNETTE BOLANOS, et al.,                 BEFORE THE HONORABLE JUDGE A.
                                                       ISHII FOR QUESTIONS OF LAW FOR
9                             Defendant.               INMATE RELEASE, DISMISSAL OF
                                                       CHARGES, AND RECUSAL OF
10                                                     HONORABLE JUDGE B. MCAULIFFE."
                                                       (Doc. 198)
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            This Court has received and reviewed document 189, filed by Defendant Gaylene Bolanos. As a
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     result, the Court rules as follows:
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            1. Pursuant to Eastern District of California Local Rule 122, the undersigned, a United States
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            District Judge in the Eastern District of California, is handling the recent filing, since The
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            Honorable Anthony W. Ishii is out of the Country, and therefore out of the District and
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            unavailable to handle the matter;
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            2. There is no basis for an emergency appearance before ANY judicial officer of the Court based
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            on the papers that have been filed, and therefore the request is DENIED;
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            3. The request for the Court to issue an order releasing the moving defendant is deemed to be a
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            request for a Bail Review. The moving documents have provided this Court with neither law nor
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            fact that would allow or facilitate a review, and it is therefore DENIED;
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            4. The request that United States Magistrate Judge Barbara A. McAuliffe be recused is based
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            upon a simple assertion that she isn't being fair, and that the moving defendant neither likes the
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            judge's way of handling the case nor the rulings. The allegations are conclusory in nature and do
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            not rise to the level of a review of the matter, let alone a ruling in favor of the motion. See also
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1       Case    v. United States, 510 U.S. 540,
         Liteky1:13-cr-00362-AWI-BAM            555 (1994)
                                            Document    190(“[J]udicial rulings alone
                                                              Filed 10/20/14      Pagealmost
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2        constitute a valid basis for a bias or partiality motion.”). The recusal request is DENIED.

3        5. Defendant Bolanos is cautioned that any further filings are to be concise, factual, pertinent

4        and legal in nature. Failure to comport with the rules and procedures in the future will be

5        tantamount to defendant Bolanos' statement that she is either unwilling or unable to comport, and

6        her ability to represent herself will be reexamined. See United States v. Flewitt, 874 F.2d 669,

7        675 (9th Cir. 1989) (“Pro se status does not excuse a criminal defendant from complying with

8        the procedural or substantive rules of the court.”).

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10 IT IS SO ORDERED.

11    Dated:   October 20, 2014                            /s/ Lawrence J. O’Neill
                                                     UNITED STATES DISTRICT JUDGE
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